                                      CASE 0:22-cr-00178-SRN-DTS Doc. 6 Filed 08/18/22 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )             COURTROOM MINUTES - CRIMINAL
                                                            )               BEFORE: BECKY R. THORSON
                                         Plaintiff,         )                   U.S. Magistrate Judge
                                                            )
   v.                                                       )     Case No:              22-cr-178 SRN/DTS
                                                            )     Date:                 August 18, 2022
 Deveon Marquise Branch,                                    )     Courthouse:           St. Paul
                                                            )     Courtroom:             3C
                                         Defendant,         )     Time Commenced:       1:41 p.m.
                                                                  Time Concluded:       1:44 p.m.
                                                                  Time in Court:        3 minutes

APPEARANCES:

   Plaintiff: Katharine Buzicky, Assistant U.S. Attorney
   Defendant: Robert Meyers, Assistant Federal Public Defender
                          X FPD          X To be appointed

   Date Charges Filed: 8/10/2022                           Offense: possession of a machinegun; felon in possession of a firearm

   X Advised of Rights

on        X Indictment

X Government moves for detention.
Motion is X granted, temporary detention ordered


Next appearance date is August 22, 2022 at 10:00 a.m. before U.S. Magistrate Judge Becky R. Thorson in CR3C, St.
Paul for:
 X Detention hrg        X Arraignment hrg


X Government moves to unseal the case.                     X Granted

Additional Information:
X Oral Rule5(f) Brady notice read on the record.
                                                                                                       s/SAE
                                                                                                   Signature of Courtroom Deputy




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